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                      UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK
__________________________________________
NATIONAL LABOR RELATIONS BOARD,            )
                                           )
                        Applicant,         )
                                           )
                  v.                       ) Misc. No. 18-MC-596 (AT)
                                           )
R&S WASTE SERVICES, LLC, WASTE             )
SERVICES, INC., and ECSI AMERICA, INC. )
                                           )
                        Respondents.       )
__________________________________________)




         NATIONAL LABOR RELATIONS BOARD’S LIMITED RESPONSE TO
               RESPONDENTS’ SUPPLEMENTAL MEMORANDUM




                             NATIONAL LABOR RELATIONS BOARD

                              /s/ Michael J. Bilik
                             Michael Bilik, Field Attorney, Region 2
                             michael.bilik@nlrb.gov
                             (212) 776-8665
                             26 Federal Plaza Ste 3614
                             New York, NY 10278

                             Helene D. Lerner, Supervisory Trial Attorney
                             Tel. (202) 273-3738
                             helene.lerner@nlrb.gov

                             Dalford Dean Owens, Trial Attorney
                             dean.owens@nlrb.gov
                             (202) 273-2934
                             Contempt, Compliance, & Special Litigation Branch
                             1015 Half Street, SE, Fourth Floor
                             Washington, D.C. 20003
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         In accordance with the Court’s January 8, 2019 Order [Doc. 38], the National Labor

Relations Board (the “Board”) respectfully submits this limited response to the supplemental

memorandum filed by Respondents [Docs. 33, 34] in support of their request that the

prejudgment writ of attachment against property of, and a protective restraining order (“PRO”)

against, Respondents be vacated.1

         1.       For the first time in its supplemental brief to the Court, Respondents reference a

“merger agreement,” apparently negotiated and entered into by and between Mr. Spiezio to show

that Respondents did not, in effect, transfer R&S Waste assets to Waste Services because all

such transfers were “purely internal” [Doc. 34, p. 5]. Respondents never raised the merger in

their previous papers and did not cite the merger at the January 3 hearing. Nor have they

mentioned the merger in any of several conversations with the Board. Indeed, the Board has

found no record of the merger with the New York State Department of State, despite

Respondents’ recording of the name change from Frontline to Waste Services [Doc 9-6]. The

Westchester County Solid Waste Commission has advised the Board that while Spiezio applied

to the Commission for review of his purchase of Frontline [Doc. 9-13], he never provided a copy

of the merger agreement to the Commission, and has not applied for review of the merger as

required by Westchester County law.2 According to Mr. Spiezio’s Affidavit, the merger occurred

in 2013. [Doc. 33, p. 2]. His counsel states it occurred in November of 2014 [Doc. 34, p. 5], and

1
  With respect to Respondents’ compliance with their reinstatement, notice posting and other equitable remedies
from the Board’s court-enforced orders, the Board never intended to mislead the Court on that issue. Although
paragraph 14 of its Application quite inartfully states that neither Rogan Brothers nor R&S Waste had complied with
the Orders, it specifically cites to paragraph 72 in Ms. Kurtzleben’s affidavit and quotes from it, accurately stating
“Respondents have not paid any amounts to satisfy the Board's Orders in Rogan Brothers I or Rogan Brothers II.”
(See also, Application, paragraph 30, which is accurate). This action has always been about the backpay
requirements of the Board Orders and that is what the Board intended to communicate in its moving papers to the
Court. The Board regrets any confusion stemming from paragraph 14 in its Application, the content of which was,
unfortunately, repeated in its Memorandum in Support.
2
  Licensed waste haulers are required to “apply for review of a proposed purchase, sale or merger transaction by the
Commission before acquiring, selling or merging with another business no later than ninety (90) days before such
acquisition, sale or merger is to take effect.” Westchester Cty., N.Y., Cty. Code, § 826-a.404.
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in 2013 [Id., p. 6]. According to the document itself, the merger became effective February 1,

2017 [Doc. 33-1, p. 3] (which was just a few months after the Region advised Respondents it

was considering holding R&S Waste responsible for remedial obligations under Rogan Brothers

I). Given these circumstances, the validity of the document is questionable at best.

         Even assuming the merger is valid, it is further evidence Respondents have not only

transferred R&S Waste assets, but transferred the entire company with the effect of hindering or

delaying the Board. Although Spiezio entered into the merger agreement on November 24, 2013,

which was prompted “by the need for [R&S Waste] to avoid its liability” in the ERISA action

[Doc. 33-1, p. 2], the agreement did not take effect until February 1, 2017, upon which R&S

Waste’s separate existence ceased3 [Doc. 33-1, pp. 2-3]. Indeed, after the Second Circuit’s

enforcement of Rogan Brothers II, Respondents now assert the entire entity of “Terminating

Company” R&S Waste was subsumed into the now “Surviving Company” Waste Services,

without notice to New York State, the Solid Waste Commission, or the Board, despite Spiezio’s

testimony to the contrary.4 Respondents’ undisclosed and purported merger has clearly hindered

and/or delayed the Board’s ability to seek satisfaction of an eventual monetary judgment, by

stripping the assets of and/or terminating the separate existence of R&S Waste, the only

respondent in this action that was previously named in the Board proceedings.

         2.       Respondents’ argument that the Board is estopped from alleging Respondents as

the Golden State successor of Rogan Brothers, based on the administrative law judge’s (“ALJ”)

interim finding that R&S Waste was not the Burns successor to Rogan Brothers, is flatly wrong.


3
  There is no record with the New York State Department of State showing such termination.
4
  Spiezio testifies the merger and “these facts are public, and known to the NLRB [as] set forth in a Rule 56.1
Statement dated June 27, 2017 […] in Trustees of Local 813 v. Rogan Brothers et al., 12-cv-6249 (ALC), and in
required regulatory filings before the [] Solid Waste Commission.” [Doc. 33, pp. 3-4 (para. 15)]. Spiezio’s Rule 56.1
statement in the ERISA matter makes no mention of any merger, nor Waste Services, nor Frontline. Contrary to
Spiezio’s testimony, the Board was not aware of any supposed merger agreement, nor apparently was the Solid
Waste Commission.

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First, Respondents ignore the Board’s primary theory of Respondents’ derivative liability, which

is based on the Board’s finding that R&S Waste and Rogan Brothers were a single employer5 in

Rogan Brothers II. Indeed, the Board concluded that from March 1, 2011 through October 4,

2011, Spiezio “financially controlled both entities,” and “was in complete control of the financial

and business operations of Rogan Brothers.” Rogan Brothers II, 362 NLRB No. 61, slip op. at 4

[Doc. 9-2]. During this period where Spiezio operated R&S Waste and Rogan Brothers as a

single employer, the entire unfair labor practice proceeding in Rogan Brothers I took place.6

Based on this timing and Spiezio’s concurrent dominion over both R&S Waste and Rogan

Brothers, Respondents had an opportunity to be heard in the Rogan Brothers I proceedings

through Rogan Brothers, and Respondents can be held derivatively liable.

         Second, the ALJ’s conclusion in Rogan Brothers II that R&S Waste was not the Burns

successor does not bar litigation of R&S Waste’s status as a Golden State successor. Burns and

Golden State successorship are separate legal determinations whose analytical factors are not

congruent.7 They share only one element: continuity of operations. See Commercial Forgings

Co., 315 NLRB 162, 165-66 (1994). The ALJ’s interim Burns conclusion in Rogan Brothers II

did not turn on R&S Waste’s continuity of Rogan Brothers’ operations. Instead, the ALJ ‘s

conclusion was based entirely on the fact that a minority of R&S Waste’s workforce consisted of

5
  Respondents incorrectly insist the Board found R&S Waste and Rogan Brothers to be a joint employer in Rogan
Brothers II. The Board’s final order concluded R&S Waste and Rogan Brothers were a single employer, with
common financial control by Spiezio, interrelated operations, centralized control of labor relations, and common
management and supervision. Rogan Brothers II, 362 NLRB No. 61, slip op. at 3 [Doc. 9-2]. The distinction is
important, because unlike a joint employer, two entities constituting a single employer typically share common
ownership and/or financial control, as Rogan Brothers and R&S Waste did here. Id.
6
  Region 2 issued complaint in Rogan Brothers I on March 23, 2011, Rogan Brothers answered on April 5, 2011, the
Region moved for summary judgment on May 13, 2011, and Rogan Brothers’ filed its opposition on June 17, 2011;
all while R&S Waste and Rogan Brothers were a single employer and Spiezio had control of both entities.
7
  The doctrine of Burns successorship imposes a bargaining obligation where a successor employer continues a
unionized predecessor’s business substantially unchanged and employees of the predecessor are a majority of its
employee complement. The doctrine of Golden State successorship imposes derivative liability to remedy the
predecessor’s unfair labor practices on a successor employer that acquired the predecessor’s assets with notice of the
potential liability. See e.g. Proxy Commc’ns of Manhattan, Inc., 290 NLRB 540, 543 (1988), enfd. 873 F.2d 552,
554 (2d Cir. 1989) (finding employer was both Golden State and Burns successor using different analytical factors).

                                                          3
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union members. As there was no adverse determination concerning the continuity of operations

after R&S Waste’s takeover, and the question of Respondents’ Golden State liability was not

“actually litigated,” collateral estoppel does not apply here. See Parklane Hosiery Co. v. Shore,

439 U.S. 322, 326 n. 5 (1979) (“Under the doctrine of collateral estoppel […] judgment in the

prior suit precludes relitigation of issues actually litigated and necessary to the outcome of the

first action”).

        Accordingly, the Board has stated that a respondent cannot “point to its freedom

under Burns . . . as a bar to Golden State liability.” Am. Signature, Inc., 334 NLRB 880, 884

(2001); see also Proxy Commc’ns, 290 NLRB at 543 (successor employer ordered to bargain

under Burns was also ordered to remedy predecessor’s unfair labor practices under the Golden

State doctrine); see also Jarm Enters., 785 F.2d 195 (7th Cir. 1986) (same).8

        3.        The relief sought by the Board here is not designed to cause any default on

Respondents’ existing loans. The Writ of Attachment, once levied on, would establish a lien up

to $673,211, but would only “be ranked ahead of any other security interests perfected after the

later of the time of levy and the time a copy of the notice of levy is filed . . .” 28 U.S.C. §

3102(f)(2) – thus it would not supplant any preexisting liens. Similarly, paragraph IV of the PRO

expressly allows Respondents to “expend funds . . . to satisfy federal, state, county, and local

taxes or bona fide liens of record recorded prior to the entry of [the] Order.” Of course, the Board

would be amenable to a necessary modification of the PRO to ensure Respondents are not placed

in a position of defaulting on legitimate business loans.



8
  Even assuming a Burns conclusion could preclude a subsequent Golden State finding (which it cannot), it would be
inapplicable in this case because the Board in Rogan Brothers II did not adopt the ALJ’s Burns successorship
finding. As a threshold issue, the Board found Rogan Brothers’ union contract unenforceable, thus no bargaining
obligation could be imposed on R&S Waste through a Burns finding or otherwise. See Rogan Brothers II, 362
NLRB No. 61, slip op. at 1 [Doc. 9-2]. Therefore, the Board never passed on that issue.

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       4.      Finally, if the value of R&S and Waste Services “has increased ten-fold” as they

suggest [Doc. 34, p. 6], then it is difficult to understand why Respondents are so averse to

providing the Board with some form of security until the underlying compliance proceedings are

fully litigated. And, given Respondents’ conduct to date, the Board has no guarantee that Waste

Services and its plentiful assets will remain with the same identity, or will “merge” into or

become another entity altogether. The parties can vigorously disagree on the merits to be

litigated before the administrative law judge, and if Respondents ultimately prevail, their security

will be returned. The fact remains, however, that the Board has a pending claim against

Respondents for a substantial debt to a federal government agency. Pending the outcome of those

proceedings, Section 3101 of the FDCPA requires prejudgment relief in order to ensure that the

named Respondents will have the financial ability to satisfy that debt.

                                      Respectfully submitted,

                                      NATIONAL LABOR RELATIONS BOARD

                                       /s/ Michael J. Bilik
                                      Michael Bilik, Field Attorney, Region 2
                                      michael.bilik@nlrb.gov
                                      (212) 776-8665
                                      26 Federal Plaza Ste 3614
                                      New York, NY 10278

                                      Helene D. Lerner, Supervisory Trial Attorney
                                      Tel. (202) 273-3738
                                      helene.lerner@nlrb.gov
                                      Dalford Dean Owens, Trial Attorney
                                      dean.owens@nlrb.gov
                                      (202) 273-2934
                                      Contempt, Compliance, & Special Litigation Branch
                                      1015 Half Street, SE, Fourth Floor
                                      Washington, DC 20003

Dated January 10, 2019




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__________________________________________)



                                    CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was filed using the Court’s

CM/ECF filing system this 10th day of January 2019, which will send an electronic notice to all

registered parties and counsel.

                                     NATIONAL LABOR RELATIONS BOARD

                                      /s/ Michael J. Bilik
                                     Michael Bilik, Field Attorney, Region 2
                                     michael.bilik@nlrb.gov
                                     (212) 776-8665
                                     26 Federal Plaza Ste 3614
                                     New York, NY 10278
